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                      EXHIBIT R
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      KeyCite Yellow Flag - Negative Treatment
                                                                          I. BACKGROUND
Distinguished by United States v. Languerand, D.D.C., August 19, 2021
                                                                          The following background is taken from the government's
                      2021 WL 918255
                                                                          charging instruments, the parties’ briefing, and the exhibits
       Only the Westlaw citation is currently available.
                                                                          tendered to the Court thus far. It does not represent the Court's
      United States District Court, District of Columbia.
                                                                          findings of fact on the merits of the case, which are the
                                                                          province of the jury.
             UNITED STATES of America,
                          v.                                              On January 5, 2021, Bruno Joseph Cua (“Cua”), his mother
             Burno Joseph CUA, Defendant.                                 Alise, and his father Joe, left Georgia for Washington D.C., to
                                                                          protest the congressional certification of the 2020 presidential
                Criminal Action No. 21-107 (RDM)                          election results. Dkt. 12-1 at 52–53 (Ex. 1). After attending
                                 |                                        President Trump's speech at the Ellipse, Cua and his parents
                        Signed 03/10/2021                                 “walked over to the Capitol.” Id. at 54. Cua then told his
                                                                          parents that “[h]e wanted to get a closer look,” id. at 55,
Attorneys and Law Firms                                                   and asked his father's permission to climb the scaffolding
                                                                          affixed to the observation deck that had been constructed for
Kimberly Louise Paschall, U.S. Attorney's                       Office,
                                                                          President Biden's forthcoming inauguration, Dkt. 12-2 at 25
Washington, DC, for United States of America.
                                                                          (Ex. 2). Cua's father said “okay,” and Cua proceeded to climb
William E. Zapf, Kaiser Dillon, PLLC, Washington, DC, for                 the scaffolding and headed toward the Capitol building. Id.
Defendant.
                                                                          Cua then breached the Capitol building, no later than 4:20
                                                                          p.m. Dkt. 12 at 8 n.2. Upon entering the building, he marched
MEMORANDUM OPINION AND ORDER                                              through it carrying (and, at times, twirling) a black baton,1
                                                                          attempting to open doors to various rooms. Id. at 4, 14. Cua
RANDOLPH D. MOSS, United States District Judge                            eventually made his way to the foyer of Senate Chamber. Id.
                                                                          at 4. There, he and a group of others shoved aside an officer
 *1 This matter is before the Court on Defendant Bruno                    guarding the entrance, and then entered the Senate Chamber.
Joseph Cua's Emergency Motion for Release from Custody.                   Id. at 8–13. Once inside, Cua sat “atop the Senate dais,
Dkt. 11. Cua was arrested on February 5, 2021 for his role in             in the chair previously occupied by former Vice President
events at the United States Capitol on January 6, 2021. He was            Mike Pence, with his feet up on [ ] the desk.” Id. at 11.
ordered detained pending trial by Magistrate Judge Alan J.                The government also alleges that Cua used “his cellphone to
Baverman of the United States District Court for the Northern             document the papers of the U.S. Senators present that day
District of Georgia and now moves “for an order releasing him             to certify the electoral college vote for the 2020 Presidential
to the third-party custody of his parents,” subject to certain            election.” Id. at 4. Later that night, Cua and his parents drove
conditions including location monitoring. Id.                             back to Georgia. Dkt. 12-2 at 6 (Ex. 2) (J. Cua). On the
                                                                          car ride home, Cua told his parents that he had entered the
For the reasons that follow, Cua's Emergency Motion for                   Capitol building and indicated that he had been involved in
Release from Custody, id., is GRANTED, subject to the                     “some pushing and shoving” against “a guy in a suit jacket or
conditions provided herein and in Attachment A to this                    something.” Id. at 7–8 (J. Cua).
Memorandum Opinion and Order. The Court will STAY
Cua's release from custody, however, until March 16,                       *2 Roughly one month later, on February 5, 2021, Cua was
2021, the date proposed by Cua's counsel (consistent with                 arrested pursuant to a criminal complaint. During a search
CDC guidelines) in light of Cua's recent positive test for                of his vehicle, home and person, law enforcement recovered
COVID-19.                                                                 three black batons, the physical appearance of which matched
                                                                          the one that Cua carried with him on January 6. Dkt. 12 at
                                                                          16; Dkt. 12-1 at 10 (Ex. 1) (Buchanan). On February 10,
                                                                          2021, Cua was indicted by a grand jury on twelve counts: civil


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disorder, in violation of 18 U.S.C. § 23l(a)(3); obstruction of     didn't take steps to stop their child from going off the rails.” Id.
an official proceeding, in violation of 18 U.S.C. § 1512(c)         at 45–46. Magistrate Judge Baverman, accordingly, ordered
(2); assaulting, resisting, or impeding certain officers, in        Cua detained pending trial. Id.
violation of 18 U.S.C. § 111(a)(1); entering and remaining in
a restricted building or grounds with a deadly or dangerous         On February 26, 2021, Cua filed an emergency motion in
weapon, in violation of 18 U.S.C. § 1752(a)(1) and (b)(1)(A);       this Court seeking his release pending trial. Dkt. 11. The
disorderly and disruptive conduct in a restricted building or       government filed its opposition on March 2, 2021. Dkt. 12.
grounds with a deadly or dangerous weapon, in violation of          Cua then filed additional supplemental authority for the Court
18 U.S.C. § 1752(a)(2) and (b)(1)(A); engaging in physical          to consider. Dkt. 13; Dkt. 15. The Court held a hearing on
violence in a restricted building or grounds with a deadly          March 3, 2021, at which Cua was arraigned—pleading not
or dangerous weapon, in violation of 18 U.S.C. § 1752(a)            guilty on all counts—and at which the Court heard argument
(4) and (b)(1)(A); entering and remaining on the floor of           on Cua's pending motion for release. After the hearing,
Congress, in violation of 40 U.S.C. § 5104(e)(2)(A); entering       Cua filed additional materials for the Court's consideration,
and remaining in the gallery of Congress, in violation of 40        including a letter from Cua. Dkt. 16; Dkt. 17. In response
U.S.C. § 5104(e)(2)(B); entering and remaining in certain           to the Court's inquiry, Pretrial Services indicated that, in its
rooms in the Capitol building, in violation of 40 U.S.C. §          view, Cua's parents are not appropriate third-party custodians.
5104(e)(2)(C); disorderly conduct in a Capitol building, in         Dkt. 18. Cua then proposed that the Court consider alternative
violation of 40 U.S.C. § 5104(e)(2)(D); an act of physical          third-party custodians and submitted a letter from a family
violence in the Capitol grounds or buildings, in violation of       that has agreed to serve in that capacity. Dkt. 20. Three days
40 U.S.C. § 5104(e)(2)(F); and parading, demonstrating, or          later, on March 8, 2021, Cua brought to the Court's attention
picketing in a Capitol building, in violation of 40 U.S.C. §        that he was assaulted while incarcerated and had recently
5104(e)(2)(G).                                                      tested positive for COVID-19. Dkt. 21 at 1. In light of Cua's
                                                                    positive test result and the Court's inquiry about how best
The same day that he was indicted, Cua appeared before              to proceed, Cua's counsel proposed that the Court stay his
Magistrate Judge Baverman. Dkt. 12 at 16. At the hearing,           release until March 16, 2021—ten days after his positive
the government argued for Cua's pretrial detention under the        COVID-19 test. Id. In response, the government reiterated
Bail Reform Act of 1984, 18 U.S.C. § 3142 et seq., principally      its position that Cua should not be released, but agreed that,
on the ground that he poses a threat to community safety.           if he is released, March 16, 2021 would be an appropriate
The government explained that Cua had several previous              date. Dkt. 22 at 2. The following day, the government filed a
encounters with law enforcement (although none resulted             compilation of direct messages that Cua had sent and received
in any legal action beyond the imposition of a fine on              on Instagram, which had also been shared with Magistrate
one occasion) and that his social media posts in late 2020          Judge Baverman during Cua's initial detention hearing. Dkt.
and early 2021 called for the execution of public officials,        23.
glorified violent protest, and exalted a call to arms against the
government. In response, Cua argued that he has disavowed            *3 Cua's Emergency Motion for Release from Custody, Dkt.
his prior social media posts and that he should be released         11, is now ripe for decision.
to the custody of his parents, who expressed a willingness to
“put [their] home on the line if that were required to secure
[Cua's] bond.” Dkt. 12-1 at 43 (Ex. 1) (J. Cua).
                                                                    II. LEGAL STANDARD

After argument and testimony, including cross examination           Under 18 U.S.C. § 3145(b), a defendant ordered detained
of the defendant's father, Joseph Cua, Magistrate Judge             by a magistrate judge may file “a motion for revocation
Baverman granted the government's motion, concluding that           or amendment to the order” with “a court having original
“Mr. Cua is a danger, and that there are no conditions or set       jurisdiction over the offense.” 18 U.S.C. § 3145(b). Although
of conditions that have been proposed that will reasonably          the D.C. Circuit has yet to opine on the question, substantial
assure the safety of the community.”2 Dkt. 12-2 at 48 (Ex. 2).      precedent supports the view that a magistrate judge's
Magistrate Judge Baverman also concluded that Cua's parents         detention order is subject to de novo review by the district
were not suitable custodians because they “were maybe not           court, seeUnited States v. Hunt, 240 F. Supp. 3d 128, 132
instigators but aiders and abettors [in Cua's alleged crime] and    (D.D.C. 2017) (identifying cases supporting this proposition



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from the Second, Third, Fourth, Fifth, Sixth, Seventh, Eighth,    a singular and chilling event in U.S. history, raising legitimate
Ninth, Tenth, and Eleventh Circuits), and this Court has          concern about the security—not only of the Capitol building
adopted that view, United States v. Taylor, 289 F. Supp. 3d 55,   —but of our democracy itself.
66 (D.D.C. 2018).
                                                                   *4 There is no reason to believe that Cua was a leader in
The question for the Court is whether any “condition              organizing the attack. But there is evidence that he acted
or combination of conditions will reasonably assure the           knowingly and with an intent to undermine the lawful transfer
appearance of the person as required and the safety of any        of power. As explained further below, before coming to
other person and the community.” 18 U.S.C. § 3142(e). If not,     Washington, Cua expressed a desire to use force to breach the
the Court “shall order the detention of the [defendant] before    Capitol and to prevent Congress from certifying that President
trial.” Id. In determining whether Cua should be detained,        Biden, in fact, won the election. Although Cua did not carry a
the Court must consider: (1) the nature and circumstances of      firearm, he did carry a baton, and he cannot plausibly maintain
the offense charged; (2) the weight of the evidence against       that he carried this weapon into the Capitol to protect himself
the defendant; (3) the history and characteristics of the         from some unprovoked attack; he did so either to injure or to
defendant; and (4) the nature and seriousness of the danger       intimidate others. Fortunately for Cua and the public, there is
to any person or the community that would be posed by             no evidence at this time that Cua hit anyone with his baton
the defendant's release. Id. § 3142(g). “The facts the judicial   or physically injured anyone. He did, however, shove a plain-
officer uses to support a finding ... that no condition or        clothed police officer three times in his effort to force his
combination of conditions will reasonably assure the safety       way into the Senate Chamber. He did so, moreover, as part
of any other person and the community [must] be supported         of uncontrolled mob that overwhelmed law enforcement by
by clear and convincing evidence,” and the government bears       violence and intimidation.
the burden of proof as to that evidence. Id. § 3142(f)(2)
(B). That is because “[i]n our society liberty is the norm,       The Court, accordingly, concludes that Cua's alleged crimes
and detention prior to trial or without trial is the carefully    are serious and weigh in favor of pretrial incarceration.
limited exception.” United States v. Salerno, 481 U.S. 739,
755 (1987); see alsoTaylor, 289 F. Supp. 3d at 62 (“The
default position of the law ... is that a defendant should        B. Weight of Evidence Against the Defendant
be released pending trial.”) (internal quotation marks and        The second factor—the weight of evidence against
citation omitted).                                                the defendant—also weighs in favor of detention. The
                                                                  government's evidence of Cua's guilt involves video and
                                                                  photographic evidence, as well as social media posts by Cua
                                                                  in which he admits to breaching the Capitol on January 6.
III. ANALYSIS                                                     See generally Dkt. 12; Dkt. 23-1 (Ex. 1). There is also direct
                                                                  video evidence of the more serious crimes with which Cua
The Court will consider each of the § 3142(g) factors in turn.
                                                                  is charged—assaulting, resisting, or impeding officers, in
                                                                  violation of 18 U.S.C. § 111(a)(1), and engaging in physical
A. Nature and Circumstances of the Offense                        violence in a restricted building or grounds with a deadly or
The nature and circumstances of Cua's alleged offenses            dangerous weapon, in violation of 18 U.S.C. § 1752(a)(4) and
weigh in favor of his detention. As Magistrate Judge              (b)(1)(A).
Baverman observed, “what the defendant was involved in
was effectively an attempt to overthrow the lawful processes      In light of the strength of the government's evidence against
of the United States.” Dkt. 12-2 at 47 (Ex. 2). That is, if       Cua, the second factor weighs against Cua's release.
anything, an understatement of the gravity of what allegedly
occurred. Cua and hundreds of others took over the United
                                                                  C. History and Characteristics of the Defendant
States Capitol; caused the Vice President of the United States,
                                                                  The third factor—the history and characteristics of the
the Congress, and their staffs to flee the Senate and House
                                                                  defendant—weighs in favor of release. In considering Cua's
Chambers; engaged in violent attacks on law enforcement
                                                                  history and characteristics, the Court must “take into account
officers charged with protecting the Capitol; and delayed the
                                                                  the available information concerning” Cua's “character,
solemn process of certifying a presidential election. This was
                                                                  physical and mental condition, family ties, employment,


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financial resources, length of residence in the community,         The final factor that the Court must consider is “the nature
community ties, past conduct, history relating to drug             and seriousness of the danger to any person or the community
or alcohol abuse, criminal history, and record concerning          that would be posed by the defendant's release.” 18 U.S.C.
appearance at court proceedings.”18 U.S.C. § 3142(g)(3)(A).        § 3142(g). “Consideration of this factor encompasses much
                                                                   of the analysis set forth above, but it is broader in scope,”
Here, Cua has strong ties to his family and his community,         requiring an “open-ended assessment of the ‘seriousness’ of
as shown by the many letters submitted on his behalf. See          the risk to public safety.” Taylor, 289 F. Supp. 3d at 70. In
generally Dkt. 11-4 (Ex. 4). Moreover, he is only 18 years old     making that assessment, moreover, the Court may consider all
and, apparently, is the youngest defendant charged to date in      relevant indicia of risk to the community, including evidence
attack on the Capitol. In addition, although contrition is not a   that would not be admissible at trial. Id. Because this factor
defense, it has some bearing on the character of the defendant,    substantially overlaps with the ultimate question whether any
and the Court credits Cua's representations that he is “deeply     conditions of release “will reasonably assure ... the safety of
remorseful and regretful;” that he knows that his media “posts     any other person and the community,” 18 U.S.C. § 3142(e), it
were foolish, unnecessary, and untrue;” that those posts do        bears heavily on the Court's analysis. On the facts of this case,
not represent “who [he is] or ever want[s] to be;” that he         the question is not an easy one, but the Court is ultimately
has “completely lost those aggressive feelings;” and that he       unpersuaded that Cua poses a substantial risk to any person
knows that he “was wrong.” Dkt. 17-1 at 1 (Ex. 1). He also         or the community.
assures the Court that he will “diligently abide by any and all
conditions the [C]ourt places on [him].” Id.                       As discussed above, Cua engaged in violent, albeit not life
                                                                   threatening, activity at the Capitol—he repeatedly shoved an
Cua's criminal history is not spotless, but neither is it          officer guarding the entrance to the Senate Chamber in order
substantial. The only criminal action ever taken against           to breach the Chamber. That, however, is the only violent
him was a municipal citation he received from local police         act—before, during, or after the assault on the Capitol—that
for distributing the peace by blowing an airhorn. Dkt.             the government has proffered in support of Cua's pretrial
12-1 at 33 (Ex. 1) (Parmer). Cua has, however, exhibited           detention. But that is far from the end of the matter. Even
a reluctance to abide by the rules and to follow the               more concerning to the government and the Court are Cua's
directions of law enforcement and other authorities. As            many social media posts—before and after the attack on the
Cua's father acknowledged in his testimony before Magistrate       Capitol—threatening political violence. His posts on Parler
Judge Baverman, Cua “has had ... interaction[s] with law           and direct messages on Instagram reveal that he was, at least
enforcement” on more than ten occasions “prior to January          as of early January 2021, angry, hostile, and bitter about the
6th, 2021.” Dkt. 12-2 at 11–12 (Ex. 2) (Buchanan). Those           2020 Election and ardent that the use of violent force was
interactions involved, by way of example, warnings for             necessary to correct what he perceived to be an injustice. Just
trespassing in a private neighborhood to go fishing, Dkt. 12-1     three days after the election, Cua inquired about purchasing an
at 47 (Ex. 1) (J. Cua), and multiple warnings for driving          “AR ... under the table,” Dkt. 12-1 at 13 (Ex. 1), and as early as
all-terrain vehicles on roads on which they did not belong,        mid-December he appeared committed to taking the “fight” to
Dkt. 12-2 at 12 (Ex. 2) (J. Cua). It therefore may be true,        Congress, id. at 13; Dkt. 12 at 2, 4, 20. In Cua's view, violence
as the government contends, that the frequency of Cua's            was justified on the same terms as the American Revolution.
interactions with the police suggest that his willingness to       Dkt. 12 at 3.
abide by law enforcement's commands is less than ideal. But
the Court cannot conclude that Cua's noise violation or other      His public Parler posts included the following:
misconduct weighs in favor of pretrial detention.
                                                                     December 19, 2021
 *5 Overall, the Court concludes that Cua's young age,
                                                                     On JAN 6th congress will open their blinds and see
family and community ties, expressed remorse, and lack of
                                                                     MILLIONS OF ANGRY #PATRIOTS. OPEN CARRY
a significant criminal history weigh in favor of his pretrial
                                                                     MISSON. If they vote for sleepy joe and commie
release.
                                                                     KAMALA, we BREAK DOWN THEIR DOORS AND
                                                                     TAKE OUR COUNTRY BACK BY FORCE
D. Danger to the Community
                                                                     January 1, 2021



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                                                                    exposed the swamp,” Cua writes “If Trump doesn't get Im
  I hear chatter of DC having “firearm checkpoints”, where          we will be back in DC for a blood bath”
  they will stop you, search your car (without a warrant) and
  arrest you for having a gun. Which is an unconstitutional         January 8, 2021
  felony in DC. Bring other weapons if you prefer, like
  pepper spray, tasers, baseball bats, whatever you want.           Trump or not, our fight against the government is far from
  Although may I remind you that that is EXACTLY what               over ... I would lay down my life for him but I'm gonna
  they want from us, to lay down our weapons and be sheep!          keep fighting
  They know they cannot control us if we are armed and
                                                                    January 9, 2021
  dangerous! I don't know who needs to hear this, but they
  can't arrest all of us. Do not back down and do not be            I want a bloody war I'm ready to start shooting and I'm
  discouraged. Show up and be ready to fight. This really is        ready to die before I watch America crash and burn ... I'll
  out #1776. Please echo to spread awareness.                       be on the front lines ... I want to lock the swamp rat tyrants
                                                                    in the capital and burn the place to the ground
   *6 January 7, 2021
                                                                  Dkt. 23-1 at 5, 6, 9, 12 (Ex. 1).
  The tree of liberty often has to be watered from the blood
  of tyrants. And the tree is thirsty.                            Three things standout about these posts and messages. First,
                                                                  they are chilling and violent. They are not mere political
  Violent protests against the capital (NOT SMALL                 rants; they are calls for violent revolution against the duly
  BUSINESS'S) are well within our constitutional rights           elected representatives of the People. Second, Cua threatened
                                                                  to “storm” the Senate and House of Representatives and to
  Dear Swamp Rats, The events at the capital were a               “break down their doors” to “take our Country back by force”
  reminder that WE THE PEOPLE are in charge of this               long before he traveled to Washington on January 6, 2021.
  country and that you work for us. There will be no ‘warning     Dkt. 12 at 2. As a result, he cannot plausibly maintain that he
  shot’ next time.                                                was merely swept up by the fervor of the crowd of adults who
                                                                  were present. He came to Washington planning to participate
   Everyone who works in congress is a traitor to the people
                                                                  in a violent attack that, in fact, occurred. Most Americans
   and deserves a public execution.
                                                                  could never have imagined that the U.S. Capitol, our elected
Id. at 1–3. Although less public, his Instagram direct messages
                                                                  officials, and the certification of a presidential election would
express similar, violent sentiments:
                                                                  be subject to such an assault. Cua not only foresaw those
  November 9, 2020                                                tragic events, he looked forward to participating in them.
                                                                  Third, Cua had no regrets in the days shortly after the attack.
  I'm trying to find an AR to buy under the table. Know           The day after the attack, for example, he wrote a Parler post
  anybody?                                                        declaring that those who work for the United States Congress
                                                                  are “traitor[s]” and “deserve[ ] a public execution.” Id. at 3.
  December 14, 2020                                               He clearly was not chastened by anything that his parents
                                                                  may have said to him during the ride home from the District
  I don't want to sit here in GA and watch I want to fight
                                                                  of Columbia, and he continued to express his desire for “a
  December 22, 2020                                               bloody war” three days later. Dkt. 12-1 at 17, 47 (Ex. 1)
                                                                  (Buchanan).
  [T]his [January 6, 2021] could possibly be one of the most
  important days in American history ... because we can            *7 In the government's view, these posts and messages
  storm the freaking senate/house ... That's why I keep saying    demonstrate a propensity to commit horrifying acts of
  to bring guns ... Holding signs is useless ... We have to       political violence. In Cua's view, in contrast, they merely
  forcefully take our freedom back on Jan. 6                      reflect a young man who became intoxicated with social
                                                                  media while never intending to act on any of his admittedly
  January 7, 2021
                                                                  disturbing posts and messages. Although what Cua was
  In response to a message stating “You know if trump really      actually thinking—and what he was actually prepared to do—
  doesn't get in because of the traitors all I can say is he      eludes any certain answer, in the Court's view, the truth likely



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lies somewhere between these poles. There is no evidence that
he ever purchased an “AR,” and, to the Court's knowledge,           To be sure, Cua's parents will play an important role in
Cua has never intentionally injured anyone. Although he             ensuring that Cua complies with the Court's conditions, and,
shoved a law enforcement officer on January 6, there is no          in particular, that he does not access social media while on
evidence that he hit him with his baton or injured that officer     pretrial release. And it is true that Cua's parents bear some
or anyone else. At the same time, the evidence does show            responsibility for Cua's actions—they were the ones that
that Cua did, indeed, act on some of his posts and messages,        drove him to Washington D.C., permitted him to bring and
refuting any contention that they were mere fantasy or idle         carry a baton to the Capitol, and allowed him to scale the
chatter. Cua repeatedly threatened to come to the District of       scaffolding, leading to Cua's breach of the Capitol building.
Columbia, breach the Capitol, and to “take [the] Country back       With that said, though, Dr. Cua has agreed under oath to
by force,”—and he, in fact, made his way into the Senate            ensure that her son complies with the Court's conditions, and
Chamber by force and, in doing so, he (and others) unlawfully       she will be required to provide the Court with a declaration,
obstructed the democratic process. Dkt. 12 at 2. That is all        signed under the penalty of perjury, every week attesting to
deeply troubling, but the government likely goes too far in         Cua's full compliance. The Court is convinced, moreover, that
arguing that Cua actually intended to kill anyone or to engage      Dr. and Mr. Cua deeply regret permitting their son to act as
in “bloody” revolution.                                             he did and that—for his sake—they will do all that they can
                                                                    to ensure that he does not take any action that might risk
Although Cua did not condemn his posts and messages until           revocation of his pretrial release or other criminal exposure.
after he was arrested and indicted on several, serious federal      As Dr. Cua stated at the March 3rd hearing:
charges, his own account of what he was thinking bears
consideration. To start, Cua appears genuinely remorseful for         I will say that since [Cua] has been arrested, everything has
his actions and has disavowed the violent views reflected in          changed for us. We ... really just hope for ... mercy, that we
his social media history. In a letter filed with the Court, Cua       would just have a chance to show that.
states:
                                                                      And we are prepared to do absolutely anything the Court
   I understand that you [i.e., the Court] are concerned that I       wants. I—I—we know that it's not just being parents now.
   may be a danger, that I may act upon things I said. Given          It's being custodians, and there's a legal—very serious legal
   how inappropriate my social media activity was, I truly            responsibility with that, and we're just asking for a chance,
   understand your worries, and I appreciate you taking time          Your Honor. We—you will not be disappointed. You will
   to really consider the options. I would like to strongly           not be disappointed, and I just ask for your forgiveness,
   assure you that I am not a danger to anyone, and I will            whatever you decide.
   absolutely never act on what I said.... My posts were
                                                                        *8 I ask for your forgiveness for just my failures as a
   foolish, unnecessary, and untrue, that[’]s not who I am or
                                                                       mom, and I am very well aware of them, and I just—I'm
   ever want to be[.] ... I have completely lost those aggressive
                                                                       really just hoping that we get a chance to prove that this
   feelings and moved on from the entire political idea.
                                                                       is behind us. We just want our family together.... [W]e
Dkt. 17-1 at 1 (Ex. 1). To be sure, Cua's regret came only
                                                                       are completely broken and completely just, honestly and
after he was caught, which minimizes its value. Nevertheless,
                                                                       truthfully, remorseful to the core of our beings, and we're
the Court concludes that his remorse (even if late in coming)
                                                                       asking for a chance.
reduces the likelihood that Cua will engage in any violent
                                                                    Tr. 36 (A. Cua). Based on these representations and the record
political activity in the future.
                                                                    as a whole, the Court is convinced that Dr. and Mr. Cua will
                                                                    safeguard their son's interests by ensuring that he does not
That conclusion is buttressed by the Court's observation of
                                                                    breach the conditions of his pretrial release and end up again
Cua's contrite demeanor at the March 3rd hearing and the fact
that conditions can be fashioned to minimize the risk that Cua      where he is now.3
will pose a danger to others: He will, among other things, be
restricted from accessing social media, will be confined to his     ***
home, will be placed on GPS monitoring, and will have no
access to firearms or other weapons. Cua's young age and the        Cua's violent social media posts and messages are disquieting,
absence of a significant criminal record or a history of violent    to put it mildly, particularly when viewed alongside his
behavior further support the Court's conclusion.                    actions on January 6. The Court is granting Cua pretrial


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release only by the slimmest of margins, guided by the default
rule favoring liberty. Cua's posts reveal him to rank that virtue
—liberty—above all others. He can do well to honor it by
fastidiously following the Court's orders.



CONCLUSION

For the foregoing reasons, Defendant Bruno Joseph Cua's
Emergency Motion for Release from Custody, Dkt. 11, is
GRANTED subject to certain conditions; it is further

ORDERED that Cua shall be released from custody on
March 16, 2021 and shall immediately upon his release abide
by the conditions set forth below and in Attachment A to this
Memorandum Opinion and Order; it is further

ORDERED that Cua shall report to the United States
Probation Office for the Northern District of Georgia (“N.D.
Ga. Probation Office”) immediately upon his return to
Georgia, and in no event later than March 17, 2021; it is
further

ORDERED that the N.D. Ga. Probation Office shall, at its
initial meeting with Cua, provide him a copy of Attachment
A; it is further

ORDERED that Cua shall, at his initial meeting with the
N.D. Ga. Probation Office, sign Attachment A and provide
the signed copy of the Attachment to the N.D. Ga. Probation
Office; and it is further

ORDERED that Cua's mother, Dr. Alise Cua, shall on
Monday of each week beginning March 22, 2021, complete,
sign, and (through her son's counsel) submit to the Court
Attachment B, attesting under penalty of perjury to Cua's
compliance with the conditions of his pretrial release.

SO ORDERED.



ATTACHMENT A




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                                                                   BRUNO JOSEPH CUA, Defendant.

                                                                   Criminal Action No. 21-107 (RDM)


                                                                   DECLARATION OF DR. ALISE CUA

                                                                   Under 28 U.S.C. § 1746, I, Dr. Alise Cua, state the following:

                                                                      1. I am the third-party custodian for Mr. Bruno Joseph Cua.
                                                                         By order of the Court, Mr. Cua is confined to my home
                                                                         in Fulton County, Georgia.

                                                                      2. From the period of ______, 2021 to ______, 2021, I
                                                                         attest that Bruno Joseph Cua has fully complied with
                                                                         each and every condition of his pre-trial release.

                                                                      3. I attest that if I become aware or have reason to believe
                                                                         that Bruno Joseph Cua has violated or will violate any
                                                                         conditions of his release, I will immediately report this
                                                                         information to the Pretrial Services Agency at (202)
                                                                         442-1000.

                                                                   I so declare, under penalty of perjury, that the foregoing is
                                                                   true and correct.

ATTACHMENT B                                                       Executed on: _______________, 2021

                                                                   ____________________
UNITED STATES DISTRICT COURT
                                                                   Dr. Alise Cua
FOR THE DISTRICT OF COLUMBIA                                       All Citations
UNITED STATES OF AMERICA,                                          Slip Copy, 2021 WL 918255
v.


Footnotes
1      Cua's counsel at the time described the baton to Magistrate Judge Baverman as follows: “It's an ASP baton, Judge. It
       is one that you carry on your belt. Police use it. A lot of people have them for self-defense.... The ones I've seen are
       made out of aluminum.... [I]f it was used defensively in a manner to cause death or serious bodily injury, yes, it would be
       a dangerous weapon.” Dkt. 12-1 at 26 (Ex. 1) (Morgan). Cua's father was aware that Cua had brought the baton from
       Georgia and that he was carrying it with him when he approached the Capitol. Id. at 58 (J. Cua); see also Dkt. 12-2 at
       6 (Ex. 2) (J. Cua).

2      Magistrate Judge Baverman did not find that Cua presented a risk of flight. See Dkt. 12-1 at 30 (Ex. 1).

3      The government argues, albeit only cursorily, that Cua “poses a serious risk of flight.” Dkt. 12 at 18. The Court disagrees.
       Cua's young age, family and community connections, and the conditions described herein and in Attachment A—
       including, for example, GPS location monitoring and home detention—are sufficient to ensure Cua's presence at future
       court proceedings.




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